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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS



UNITED STATES OF AMERICA,

                      Plaintiff,

v.                                                                  No. 19-10128-JWB

PHONG HOANG NGUYEN,

                      Defendant.


                                   MEMORANDUM AND ORDER

       This matter is before the court on the government’s appeal of the Magistrate Judge’s order

of release. (Docs. 18, 20.) Defendant has filed a response. (Doc. 26.) The court held an

evidentiary hearing on October 31, 2019, and orally ruled on the matter. This written order will

supplement the court’s oral ruling. For the reasons stated, the Magistrate Judge’s order of release

(Doc. 18) is REVOKED and Defendant is ordered detained pending trial.

       I. Background

       Defendant is charged in a one-count indictment with unlawfully and knowingly possessing

firearms and ammunition, in and affecting commerce, after having been convicted of a crime

punishable by imprisonment for a term exceeding one year, in violation of 18 U.S.C. § 922(g)(1)

and § 924(a)(2). (Doc. 1.) Defendant was initially ordered detained following a hearing before

Magistrate Judge Gwynne E. Birzer, based upon the Magistrate Judge’s finding that Defendant’s

release would pose a danger to the community. (Doc. 11.) Judge Birzer indicated she might

reconsider the order if Defendant provided in-depth information about management of his mental

health issues. (Id. at 2.) Defendant subsequently filed a motion for reconsideration, which was
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heard by Magistrate Judge Kenneth G. Gale. Judge Gale entered an order of release with

conditions after Defendant presented evidence of a substance abuse and psychological assessment

with a recommendation for outpatient treatment. (Doc. 18.) The order included conditions that

Defendant get medical or psychiatric and substance abuse treatment and follow the

recommendation of treatment providers; that he participate in inpatient or outpatient treatment for

substance abuse; that he not possess a firearm and not unlawfully use controlled substances; and

that he submit to drug testing. (Id. at 2.) The government appeals the release order, arguing there

are no conditions that will reasonably assure the safety of the community.1 (Doc. 20.)

        II. Standards

        The district court's review of a magistrate judge's detention or release order is de

novo. United States v. Cisneros, 328 F.3d 610, 616 n. 1 (10th Cir. 2003). A de novo evidentiary

hearing, however, is not required. The district court may either “start from scratch” or “incorporate

the record of the proceedings conducted by the magistrate judge including the exhibits

admitted.” United States v. Burks, 141 F. Supp. 2d 1283, 1285 (D. Kan. 2001) (citing United States

v. Torres, 929 F.2d 291, 292 (7th Cir. 1991)). The Federal Rules of Evidence do not apply to

detention hearings. See 18 U.S.C. § 3142(f)(2)(B). The court may allow the parties to present

information by proffer or it may insist on direct testimony. See id. See also United States v. Goines,

No. 19-10103-JWB, 2019 WL 4168822, at *1 (D. Kan. Sept. 3, 2019).

        Under the Bail Reform Act of 1984, the court must order a defendant’s pretrial release,

with or without conditions, unless it “finds that no condition or combination of conditions will

reasonably assure the appearance of the person as required and the safety of any other person and



1
 The government’s notice of appeal also asserted that no conditions would reasonably assure the appearance of
Defendant as required (Doc. 20 at 2), but the government’s arguments at the detention hearing focused only upon
danger to the community. There is no evidence that Defendant would pose a flight risk if released.

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the community.” 18 U.S.C. § 3142(e). In making this determination, the court must take into

account the available information concerning

       (1) The nature and circumstances of the offense charged, including whether the
       offense is a crime of violence ... or involves a minor victim or a controlled
       substance, firearm, explosive, or destructive device;

       (2) the weight of the evidence against the person;

       (3) the history and characteristics of the person, including-

       (A) the person's character, physical and mental condition, family ties, employment,
       financial resources, length of residence in the community, community ties, past
       conduct, history relating to drug or alcohol abuse, criminal history, and record
       concerning appearance at court proceedings; and

       (B) whether, at the time of the current offense or arrest, the person was on probation,
       on parole, or on other release pending trial, sentencing, appeal, or completion of
       sentence for an offense under Federal, State, or local law; and

       (4) the nature and seriousness of the danger to any person or the community that
       would be posed by the person's release.

18 U.S.C. § 3142(g). There is no rebuttable presumption of risk of flight or danger to the

community in this case. See 18 U.S.C. § 3142(e).

       III. Analysis

                         A. Nature and Circumstances of the Offense

       Defendant is charged with unlawful possession of firearms and ammunition by a convicted

felon. The indictment alleges Defendant possessed a 9mm semi-automatic pistol, a .22 caliber

rifle with a disassembled stock, two 12-guage semi-automatic shotguns, a .223 semi-automatic

rifle, and miscellaneous ammunition. (Doc. 1.) The firearms were allegedly found in Defendant’s

residence. The Pretrial Services Report of the United States Probation Office indicates Defendant

was previously convicted of one or more felonies, including for possession with intent to distribute

cocaine in this district in Case No. 00-10132-01 (D. Kan.).




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       In addition to these facts that go directly to the charged offense, the circumstances

surrounding the offense are alarming. The evidence, proffers, and argument presented at the

detention hearing indicate the firearms that are the subject of the indictment were allegedly found

during a search of Defendant’s residence by law enforcement officers. Defendant’s house was

searched sometime after Defendant’s neighbor called 911 to report gunshots and what he believed

to be bullets hitting his house. Bullet holes were found in the neighbor’s house and the trajectory

and other circumstances indicated the shots came from Defendant’s residence. According to the

government’s proffer, when officers asked Defendant about the incident, he admitted he had

possessed firearms during the incident and said he had been shooting at someone who was trying

to rob him. Officers allegedly observed numerous bullet holes in the walls and windows of

Defendant’s residence which indicated shots had been fired from inside his house. Defendant had

not reported the asserted robbery. Defendant also allegedly told officers that if someone tried to

rob him in the future, he would shoot them.

       Defendant’s neighbor testified at the detention hearing. Among other things, the neighbor

testified that Defendant had a berm on his property that Defendant used as a shooting back-stop.

The neighbor said he had previously seen Defendant shooting firearms at the berm. The neighbor

also said his grandchildren are no longer permitted to visit his house because of what he considers

the danger of bullets hitting his house from Defendant’s property.

       Based on the foregoing, the court concludes the nature and circumstances of the alleged

offense strongly indicate that Defendant’s release would pose a danger to the community, and thus

weigh in favor of detention.




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                                   B. Weight of the Evidence

        During the search of Defendant’s home, law enforcement officers allegedly found five

firearms, plus ammunition. Defendant allegedly admitted that he fired at least one firearm inside

his home. Additionally, the neighbor testified that Defendant has a shooting berm or similar

facility on the property, which Defendant uses from time to time. Accordingly, there appears to

be strong evidence that Defendant is a convicted felon and that he possessed one or more firearms.

        The weight of the evidence against Defendant appears substantial and weighs in favor of

detention.

                         C. History and Characteristics of Defendant

        Defendant has long-standing ties to the community. He also has extensive family in the

area, including Defendant’s parents, siblings, and children. Defendant has been self-employed and

has maintained his own business for approximately the last ten years. These factors weigh in favor

of release.

        Defendant also has a long history of both substance abuse and mental health issues.

According to records from a 2005 case, where Defendant was charged with unlawful possession

of a firearm, Defendant was suffering from auditory and visual hallucinations at the time of that

alleged offense. The case was subsequently dismissed. (Case No. 05-10188-MLB, D. Kan.)

Defendant has self-reported a history of depression, although he stated during the bond interview

that he was now mentally stable and did not need mental health services. Defendant’s wife, who

is separated from him, reported Defendant has a history of mental health issues including paranoia,

hallucinations, anger, and depression, as well as a history of substance abuse, including

methamphetamine. She also reported that Defendant does not think he needs mental health

services. Defendant’s substance abuse evaluation report indicates that Defendant reported daily



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usage of methamphetamine, cocaine, and marijuana during the period just prior to his arrest on the

instant charge.

        Defendant’s history appears to include a long-standing affinity for firearms, up to and

including shortly before his arrest on the instant charge. His history also includes two revocations

of supervised release in Case No. 00-10132, including a revocation for committing a new violation

of law and failing to participate in substance abuse treatment as required.

        On the whole, Defendant’s history and characteristics weigh in favor of detention, as they

indicate Defendant’s release would pose a danger to the community and that no conditions would

be adequate to reasonably assure the safety of the community.

                                D. Danger to Any Person or the Community

         The court finds the government has established by clear and convincing evidence that

Defendant’s release would pose a danger to the community, and that there are no conditions of

release that will reasonably assure the safety of the community. Defendant has argued that he

could be released on conditions for outpatient treatment with monitoring, but the court is not

persuaded that anything short of detention would be sufficient to assure community safety. “The

concern about safety is to be given a broader construction than the mere danger of physical

violence....” United States v. Gilliard, 722 F. App'x 818, 821 (10th Cir. 2018) (citing United States

v. Cook, 880 F.2d 1158, 1161 (10th Cir. 1989)). Indeed, for all practical purposes, Defendant has

been under a “condition,” so to speak, that he not possess firearms ever since he was first convicted

of a felony. The materials proffered so far2 indicate the prohibition against possession of firearms

has done nothing to prevent him from obtaining firearms recently or in the past. According to the

Pretrial Services Report, when Defendant was arrested in March of 2000, U.S. Marshals found a


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 Nothing in the Bail Reform Act modifies or limits the presumption of innocence. 18 U.S.C. § 3142(j). The court
only considers the strength of the evidence here insofar as it bears on the risk of harm to the community.

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handgun, rifle, ammunition, and cocaine in an apartment Defendant shared with his wife, and

during an arrest only a few months later, the Marshals found a shotgun, ammunition, and marijuana

in his residence. Defendant performed poorly on supervision in that case: missing drug tests,

testing positive, not participating in substance abuse treatment, and tampering with a urine sample.

Given Defendant’s history and characteristics, the court has no reason to believe that additional

conditions - mere words on paper - will prevent Defendant from obtaining firearms again if he is

released. Defendant has a long history of criminal conduct, mental health issues, substance abuse

issues, failure to abide by conditions of supervision, and association with and use of firearms, all

of which combine to persuade the court that there are no conditions of release that would be

sufficient to reasonably assure the safety of the community.

       IV. Conclusion

       The Magistrate Judge’s Order of Release (Doc. 18) is REVOKED. The court finds that no

condition or combination of conditions will reasonably assure the safety of the community.

Defendant is hereby committed to the custody of the Attorney General for confinement in a

corrections facility separate, to the extent practicable, from persons awaiting or serving sentences

or being held in custody pending appeal. Defendant shall be afforded reasonable opportunity for

private consultation with counsel. Upon order of a court of the United States or on request of an

attorney for the government, the person in charge of the corrections facility in which Defendant is

confined shall deliver Defendant to a United States Marshal for the purpose of an appearance in

connection with a court proceeding.

       IT IS SO ORDERED this 1st day of November, 2019.

                                              _____s/ John W. Broomes__________
                                              JOHN W. BROOMES
                                              UNITED STATES DISTRICT JUDGE



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